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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF PUERTO RICO

NORMA CARDOZA ESTREMERA and CANDIDA
PEREZ ROBLES, on their behalf and on behalf of all the
participants of the Pension Plan for the Employees of the        CIVIL NO. 16-2318
Catholic School of the Archdiocese of San Juan

Plaintiffs
 vs.
  COLEGIO PADRE BERRIOS, ACADEMIA SAN
JOSE, PENSION PLAN FOR THE CATHOLIC SCHOOL
OF THE ARCHDIOCESE OF SAN JUAN, BOARD OF
TRUSTEES FOR PENSION PLAN FOR THE CATHOLIC
SCHOOL OF THE ARCHDIOCESE OF SAN JUAN,
MARILYN PANELL and ANA CORTES CRESPO as
administrators, WILFRED L. THORNTHWAITE, as
actuary for the Plan and THORNTHWAITE & CO, as
actuarial firm and INSURANCE COMPANIES A, B &C.

Defendants


                         MOTION FOR JOINDER OF PARTIES
         COME NOW, the plaintiffs through the undersigned attorney and respectfully state

  and pray as follows:

         1.      Rule 20 of Federal Rule of Civil Procedure relates to Permissive Joinder of Parties

  and states:

         (a) PERSONS WHO MAY JOIN OR BE JOINED.
         (1) Plaintiffs. Persons may join in one action as plaintiffs if:
         (A) they assert any right to relief jointly, severally, or in the alternative with respect to or
         arising out of the same transaction, occurrence, or series of transactions or occurrences;
         and
         (B) any question of law or fact common to all plaintiffs will arise in the action.
         (2) Defendants. Persons—as well as a vessel, cargo, or other property subject to admiralty
         process in rem—may be joined in one action as defendants if:
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        (A) any right to relief is asserted against them jointly, severally, or in the alternative with
        respect to or arising out of the same transaction, occurrence, or series of transactions or
        occurrences; and
        (B) any question of law or fact common to all defendants will arise in the action.
        (3) Extent of Relief. Neither a plaintiff nor a defendant need be interested in obtaining or
        defending against all the relief demanded. The court may grant judgment to one or more
        plaintiffs according to their rights, and against one or more defendants according to their
        liabilities.


        2.      Plaintiffs claim under ERISA 502(a)(2), 29 USC1132(a)(2) a relief on behalf of the

Defendant Pension Plan for Catholic Schools of the Archdiocese of San Juan Plan (the “Plan”).

See Paragraphs 34 and 182 of Complaint; see also Count VI at page 47 of Complaint (Docket1).

In this case Plaintiffs are asserting right to relief under ERISA 502(a)(2) as representative of the

Plan as a whole on behalf of all plan participants, jointly, severally, or in the alternative with

respect to or arising out of the same transaction, occurrence, or series of transactions or

occurrences; and there are questions of law or fact common to all plaintiffs that will arise in the

action. For that reason the Plan must be considered a Plaintiff in this case and must be joined as a

Plaintiff in this action.

        3.      The Catholic Schools Employees’ Pension Trust (the “Trust”) appeared voluntarily

in this case represented by Attorneys Jesus Rabell and Frank Zorrilla; see Motions for Appearances

(Dockets 9 and 12). The Trust is a separate legal entity with legal existence and capacity apart

from the Defendant Board of Trustees for the Pension Plan for the Catholic School of the

Archdiocese of San Juan (the “Board of Trustees”) and Defendant Pension Plan for Catholic

Schools of the Archdiocese of San Juan Plan (the “Plan”). The Board of Trustees and its

Retirement Committee, which are the named fiduciary with the responsibility to manage the

Pension Plan asset funds, are entities separate from the Plan and from its Trust.
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         4.      The Trust, as a separate entity, must be added as additional defendant in this case

because a right to relief is asserted against the trust jointly, severally, or in the alternative with

respect to or arising out of the same transaction, occurrence, or series of transactions or

occurrences, and there are question of law or fact common to all defendants that will arise in the

action

         5.      The Plan is a separate defendant entity from the Trust.     ERISA Section 502 (d)

     states: Status of employee benefit plan as entity : An employee benefit plan may sue or be

     sued under this subchapter as an entity. Service of summons, subpoena, or other legal

     process of a court upon a trustee or an administrator of an employee benefit plan in his

     capacity as such shall constitute service upon the employee benefit plan. For this reason

     the Trust must be joint as a separate defendant apart from the Plan and the Board of

     Trustees.

     WHEREFORE, plaintiffs request this jinder of parties to the complaint in compliance with
court order of August 15,2017 (Docket 67).

     RESPECTFULLY SUBMITED

In San Juan, Puerto Rico, on August 31, 2017.


                             CERTIFICATE OF SERVICE

I HEREBY CERTIFY: that on this same date, October 11, 2016, I electronicallyfiled the
foregoing with the Clerk of the Court using the CM/ECF system, which willautomatically send
notification of such filing to all CM/ECF participants: Jose O. Ramos-Gonzalez
rgtolaw@gmail.com, Jesus R. Rabell-Mendez jrabell@prtc.net, jesusrabell@gmail.com, Frank
Zorrilla-Maldonado          fzorrilla@fzmlaw.com,       Yolanda         V.Toyos-Olascoaga
ytoyos@ramostoyoslaw.com, yvto@caribe.net, Pedro A. Buso-Garcia pbuso@salawpr.com,
pb@pbglaw.com, pbusogarcia@gmail.com,sacosta@salawpr.com, Jaime Luis Sanabria-
Montanez jsanabria@salawpr.com,jaime.sanabria@icloud.com, jsanabria@littler.com, Robert
Millán,Mi3183180@aol.com.

In San Juan, Puerto Rico, on August 31, 2017.
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                                         S/ Luis Vivaldi Oliver
                                         Luis Vivaldi Oliver
                                         U.S.D.C.P.R 214413
                                         Attorney for Plaintiffs
                                         P.O. Box 191340
                                         San Juan, P.R 00919
                                         Tel. (787) 413-2218
                                         vivaldipension@hotmail.com
